Case 1:19-cr-00018-ABJ Document 281 Filed 02/10/20 Page 1of1

Kathleen M. Coleman CPA, APC

Member American Institute of Certified Public Accountants

 

 

Real Estate * Partnership & LLC © Business Entities & Owners * Accounting « Consulting ¢ Tax Preparation

 

January 23, 2020 \A-cer- Ons
ea. an saneson a to file GRANTED
nited States District Court [ [
Washington, D.C. 20001 Hp _é l0 CO
Amy 8. Jackson Date
Re: Sentencing for Roger Stone United States District Judge
Dear Judge Jackson

Please ignore this letter if you are not allowed to consider the effect on the public when you sentence a
defendant. On the other hand, if you can consider such input, | would request the toughest sentence
possible on Roger Stone. The lying and cover up, with the impact on our election and the attack on our
federal law enforcement and intelligence agencies, has hurt me greatly.

For years, | loved my country. | somehow thought that America was different. Call me naive | guess.
Call it limerence. | loved my country and what it stood for. But when Trump was “elected” | burned my
American flag. It was a beautiful nylon flag, that | displayed on my wall, but using the grommets, not
wanting to put any holes in it. The colors were brilliant and unfaded, because it was nylon, and large,
maybe 4 by 5 feet or so. It was given to me, at age 17, by a veteran from VFW, who grilled me to ensure
| intended that flag no harm. | assured him | did not. | loved my country. But! don’t anymore. | saw
the people in my county use their vote to elect Donald Trump, and | knew at that point that the values |
loved were mine, and not those of my countrymen. I cry. | cannot be part of such a place. lama
person without a country. | had a funeral for that flag and said good-bye to it forever. | have a wound
that cannot be healed.

Randy Credico may say it’s no big deal. But | strongly disagree. He is not the victim. Roger Stone
worked with foreign enemies to defraud our election. They lied, and they covered it up. The public has
no truth by which to govern and no apparent will to choose what is good. | see devasting consequences
for their conspiracy. And | see no basis for leniency. | see no remorse, and no acknowledgment of
wrong doing. Millions of people live in agony and abject fear as our government, and our shining city on
the hill, is destroyed. We question its resilience, and wonder if we watch Rome burning.

| cannot understate the grief these events have caused me and | hope his sentence reflects the
seriousness of what he did and what he lied about.

Sincerely,

of 2M. Cprb—

Kathleen M. Coleman
